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March 31, 2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
senneeee x
UNITED STATES OF AMERICA, CONSENT TO PROCEED BY
VIDEOCONFERENCE
-V-
Ja Me se Sai peo f? Gl | _\t_)
Defendant(s).
Defendant — Jq@werxer S5) pt hereby voluntarily consents to

participate in the following proceeding via videoconferencing:

initial Appearance/Appointment of Counsel

Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
indictment Form)

Preliminary Hearing on Felony Complaint
Bail/Revocation/Detention Hearing
Status and/or Scheduling Conference

Misdemeanor Plea/Trial/Sentence

J Q gp

Defendant's Signature Defense-Gounsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

 

 

~_—T
Jénat S's pes DAD Fover
Print Defendant's Name Print Defense Counsel's Name

This proceeding was conducted by reliable videoconferencing technology.

jill pet, Ces

Date U.S. Magistrate Judge

 
